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   AO 245C-CAED (Rev. 09/2011) Sheet 1 - Amended Judgment in a Criminal Case for Revocation          (NOTE: Identify Changes with Asterisks*)



                                        United States District Court
                                               Eastern District of California

             UNITED STATES OF AMERICA                                         AMENDED JUDGMENT IN A CRIMINAL CASE
                        v.                                                    (For Revocation of Probation or Supervised Release)
                                                                              (For Offenses committed on or after November 1, 1987)
                 NATHANIEL JONES
                                                                              Criminal Number: 1:92CR05264-002
                         (Defendant’s Name)

   Date of Original Judgment: 4/9/2013                                        Francine Zepeda
   (Or Date of Last Amended Judgment)                                         Defendant’s Attorney

   Reason for Amendment: Correction of Sentence for Clerical Mistake (institution recommendation added) (Fed. R. Crim. P. 36)

   THE DEFENDANT:
   [] admitted guilt to violation of charges 1 and 2 as alleged in the violation petition filed on 1/23/2013.
   []  was found in violation of condition(s) of supervision as to charge(s) after denial of guilt, as alleged in the
       violation petition filed on .
   ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):

   Violation Number                     Nature of Violation                                         Date Violation Occurred
   Charge 1                             Unlawful Use of a Controlled Substance                      11/23/2012
   Charge 2                             Possession of a Controlled Substance                        12/19/2012



   The court: [] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on 12/13/1993 .

          The defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is imposed
   pursuant to the Sentencing Reform Act of 1984.

   []       Charge(s)         is/are dismissed.


            Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

           IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
   days of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
   imposed by this judgment are fully paid.

                                                                                                   4/8/2013
                                                                                         Date of Imposition of Sentence


                                                                                              /s/ LAWRENCE J. O’NEILL
                                                                                              Signature of Judicial Officer


                                                                           LAWRENCE J. O’NEILL, United States District Judge
                                                                                  Name & Title of Judicial Officer


                                                                                                       4/12/2013
                                                                                                          Date




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                       Case 1:92-cr-05264-LJO Document 313 Filed 04/12/13 Page 2 of 2
   AO 245C-CAED (Rev. 09/2011) Sheet 2 - Imprisonment
   CASE NUMBER:               1:92CR05264-002                                                                Judgment - Page 2 of 2
   DEFENDANT:                 NATHANIEL JONES


                                                          IMPRISONMENT
            The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
   total term of 12 months .



   []       No TSR: Defendant shall cooperate in the collection of DNA.

   [ ]     *The court makes the following recommendations to the Bureau of Prisons:
            The Court recommends that the defendant be incarcerated in a California facility, specifically Lerdo, but
            only insofar as this accords with security classification and space availability.


   []      The defendant is remanded to the custody of the United States Marshal.


   []       The defendant shall surrender to the United States Marshal for this district.
            [ ] at      on    .
            [ ] as notified by the United States Marshal.


   []       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            [ ] before on        .
            [ ] as notified by the United States Marshal.
            [ ] as notified by the Probation or Pretrial Services Officer.
            If no such institution has been designated, to the United States Marshal for this district.

                                                                RETURN
   I have executed this judgment as follows:




            Defendant delivered on                                     to

   at                                           , with a certified copy of this judgment.




                                                                                                 UNITED STATES MARSHAL



                                                                                            By
                                                                                                    Deputy U.S. Marshal




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